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                              No. 24-12311-J


                In the United States Court of Appeals
                      for the Eleventh Circuit



                  UNITED STATES OF AMERICA,


                            Plaintiff-Appellant,
                                     v.
                        WALTINE NAUTA and
                        CARLOS DE OLIVEIRA,

                         Defendants-Appellees.


    REPLY IN SUPPORT OF EMERGENCY MOTION FOR
 INJUNCTIVE RELIEF AND REMAND TO DISTRICT COURT
                   FOR HEARING


       John S. Irving, IV                  Stanley E. Woodward, Jr.
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       Larry Donald Murrell, Jr.           Richard C. Klugh
       L.D. MURRELL, P.A.                  KLUGH WILSON, LLC

       Counsel for Defendant               Counsel for Defendant
       Carlos De Oliveira                  Waltine Nauta
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             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

        United States v. Waltine Nauta, et al., Case No. 24-12311-J

      Appellees file this Certificate of Interested Persons and Corporate

Disclosure Statement, listing the parties and entities interested in this appeal,

as required by 11th Cir. R. 26.1.

Advance Publications, Inc.

Alonso, Cristina

America First Legal Foundation

American Broadcasting Companies, Inc., d/b/a ABC News

Ayer, Donald

Blackman, Joshua

Blanche, Todd

Bloomberg, L.P.

Bove, Emil

Bowman, Chad

Bratt, Jay

Cable News Network, Inc.

Calabresi, Steven

Caldera, Louis

Cannon, Hon. Aileen

Cate, Matthew


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            United States v. Waltine Nauta, Case No. 24-12311-J
              Certificate of Interested Persons (Continued)

CBS Broadcasting, Inc. o/b/o CBS News

Citizens for Responsibility and Ethics in Washington

Citizens United

Citizens United Foundation

CMG Media Corporation

Coleman, Tom

Conway, George

Cooney, J.P.

Couzo, Amber Aurora

Cox Enterprises, Inc. (COX) d/b/a The Atlanta Journal-Constitution

Dadan, Sasha

De Oliveira, Carlos

Dow Jones & Company, Inc., publisher of The Wall Street Journal

Dreeben, Michael

Edelstein, Julie

Fields, Lazaro

Fitzgerald, Patrick

Fort Myers Broadcasting Company

Fugate, Rachel Elise




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              Certificate of Interested Persons (Continued)

Garland, Merrick B.

Gerson, Stuart

Gertner, Nancy

Gilbert, Karen E.

Gillers, Stephen

Goodman, Hon. Jonathan

Gray Media Group, Inc. (GTN)

Guardian News & Media Limited

Harbach, David

Hirsch, Steven A.

Hulser, Raymond

Insider, Inc.

Irving, John

Kise, Christopher

Klugh, Richard C.

Lacovara, Philip Allen

Landmark Legal Foundation

Lawson, Gary

Los Angeles Times Communications LLC, publisher of The Los

      Angeles Times


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            United States v. Waltine Nauta, Case No. 24-12311-J
              Certificate of Interested Persons (Continued)

Maynard, Hon. Shaniek Mills

McElroy, Dana Jane

McKay, John

McNamara, Anne

Meese, Edwin

Mishkin, Maxwell

Mukasey, Hon. Michael B.

Murrell, Larry Donald

National Cable Satellite Corporation d/b/a C-SPAN

National Public Radio, Inc.

Nauta, Waltine

NBCUniversal Media, LLC d/b/a NBC News, a subsidiary of

      Comcast Corporation (CMCSA)

Orlando Sentinel Media Group, publisher of the Orlando Sentinel

Pearce, James

Pellettieri, John

Politico LLC

Potter, Trevor

Radio Television Digital News Association

Raskin, David

Raul, Alan Charles

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              United States v. Waltine Nauta, Case No. 24-12311-J
                Certificate of Interested Persons (Continued)

Reeder, L. Martin Jr.

Reinhart, Hon. Bruce E.

Reuters News & Media, Inc.

Reynolds, Brett

Russell, Lauren

Salario, Samuel

Sample, James J.

Sasso, Michael

Schaerr, Gene

Seligman, Matthew A.

Smith, Abbe

Smith, Fern

Smith, Jack

State Democracy Defenders Action

Sun-Sentinel Company, LLC, publisher of the South Florida Sun Sentinel

TEGNA, Inc. (TGNA)

Telemundo Network Group, LLC d/b/a Noticias Telemundo

Thakur, Michael

The Associated Press

The E.W. Scripps Company (SSP)



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           United States v. Waltine Nauta, Case No. 24-12311-J
             Certificate of Interested Persons (Continued)

The McClatchy Company, LLC (MNI) d/b/a the Miami Herald

The New York Times Company (NYT)

The Palm Beach Post and USA TODAY, publications operated by

     subsidiaries of Gannett Co., Inc. (GCI)

Thompson, Larry

Tillman, Seth Barrett

Tobin, Charles

Torres, Hon. Edwin

Trent, Edward H.

Tribe, Laurence

Troye, Olivia

Trump, President Donald J.

Trusty, James

Twardy, Stanley

United States of America

Univision Networks & Studios, Inc.




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  REPLY IN SUPPORT OF EMERGENCY MOTION FOR INJUNCTIVE
                         RELIEF

      Defendants request that this Court remand for a hearing in front of the district

court. The government concedes that there is a substantial, if not guaranteed, risk of

prejudice associated with public disclosure of the Final Report containing privileged

material, grand jury material, and evidence in an ongoing criminal case. But the

government suggests that this prejudice can be managed by disclosing the report

only to the chairmen and ranking members of the House and Senate Judiciary

Committees, subject to redaction only as the Department of Justice sees fit. This

reflects an improper attempt to remove from the district court the responsibility to

oversee and control the flow of information related to a criminal trial over which it

presides, and to place that role instead in the hands of the prosecuting authority—

who unlike the trial court has a vested interest in furthering its own narrative of

culpability.

      Defendants’ motion does not present, as the government suggests, “a

straightforward legal question” appropriate for this Court to address in the first

instance. Cf. Doc. 90 at 17. Rather, the questions relating to with whom the report

may be shared; the likelihood of public disclosure if the report is shared with

Congress; and the appropriate level of redaction if the report is shared, are inherently

fact-bound in nature, best left to the trial court. Although we dispute that the district

court lacks jurisdiction to enforce its own orders, United States v. Ellsworth, 814


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F.2d 613 (1987) makes clear this Court can relinquish jurisdiction to the district court

for further proceedings.

      The case law and the court rules do not contemplate the DOJ’s independently

determining what may be redacted and with whom a report may be shared; rather,

that role lies firmly with the district court. This is a scenario where the district court

is best suited to resolve the myriad factual disputes created by the government’s

response.    By conceding the prejudice associated with public disclosure, the

government illustrates the need for a hearing. This also is in the interests of judicial

economy so the appellees are not back before the court in a week asking to dismiss

the appeal based on violation of the disclosure limitations proffered now by the DOJ.

Rather than extend the process, the government proposes a scenario that would in

fact complicate and lengthen judicial proceedings.

      There are significant problems with the government’s proposed “middle

ground,” worthy of the district court’s consideration at a hearing. In conceding that

it must take steps to avoid public dissemination, the government argues it can

mitigate that risk by disclosing the Final Report only to certain members of

Congress. The DOJ’s proposal does not adequately insulate against extremely

prejudicial leaks—and it does not recognize the reality that, under separation of

powers principles, neither the Court nor the Executive branch can bind Congress.




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       The government’s proposed approach does not sufficiently address the threat

of public dissemination, and that alone is a reason under S.D. Fla. Local Rule 77.2

to enjoin the Attorney General from further dissemination; indeed, “[i]t is the duty

of the lawyer or law firm not to release or authorize the release of information or

opinion which a reasonable person would expect to be disseminated by means of

public communication, in connection with pending or imminent criminal litigation

with which the lawyer or the firm is associated, if there is a reasonable likelihood

that such dissemination will interfere with a fair trial or otherwise prejudice the due

administration of justice.” S.D. Fla. L.R. 77.2(a) (emphasis added). This should not

be the first case in which this Court pre-empts the district court from engaging its

on-the-ground expertise regarding both the prejudicial matters at issue.

       There is no way to restrain members of Congress from disclosing their

opinions regarding the report, or from disclosing the contents thereof. Nor is there

a way to prohibit them from disclosing the materials to members of their staff, or to

prevent members of their staff from then leaking the contents of the report—or their

prejudicial explanations. This country was founded on individual liberty, and those

principles underlie the defense request. A hearing is necessary to prevent overreach

of the federal government to serve political aims at the expense of the individual’s

right to a fair trial.




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       The government’s “middle ground” removes from judicial oversight the flow

of publicity regarding this pending criminal matter and risks disclosure of privileged

material never meant to be made public at all, much less in a pending criminal matter,

finds its way into public debate. The DOJ seeks to pillory the criminal defendants

using special counsel’s supposedly non-public advocacy.            The government’s

proposed parameters are unclear—what, for example, are the restrictions on

members of Congress who view the report? Are they permitted to publicly share

their opinions on the report? Are they permitted to discuss the case at all publicly,

now that have had access to confidential material that will inevitably shape how they

view the case? Are they permitted to disclose their reactions to their own staff? Are

they permitted to war against the defendants’ fundraising activities for their defense?

Does public discussion of the report by the DOJ and members of Congress relieve

defense of its requirement to abide by the protective order? If the case is going to

be tried in the court of public opinion, is the defense not at least entitled to an

adversary process in that forum? These factual questions warrant consideration by

the district court at a hearing.

       The concern about leaks cannot be overlooked; Congress is a political body;

its individual members have political aims; and this is a political case. The

government’s assertion that disclosure to Congress is sufficient to safeguard the

defendants’ rights falls short—for instance, comments to a New York Times article



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predict an inevitable leak of the special counsel’s report but also suggest the

“bravery” required to do so and urge such leaking. See Comments, “Justice Dept. to

Hold Off Releasing Report on Trump Documents Case,” by Alan Feuer and Charlie

Savage,      New      York      Times,      Jan.     8,     2025,       available     at

https://www.nytimes.com/2025/01/08/us/politics/trump-documents-report-jack-

smith.html. This is an era in which even a draft of a Supreme Court decision on a

highly divisive political issue has been leaked. The functioning of the political press

depends on leaks, and if such leaks occur here, there will be no recourse for the

defendants whose due process rights are at stake.

      Members of the House and Senate Judiciary Committees are not entitled to

access evidence in a pending criminal case, especially not privileged and grand jury

materials, and there is no reason to provide such access here. If such access is to be

provided, it must be done pursuant to a court process and after a hearing—not

unilaterally by the DOJ in disregard of all the rules, policies, and procedures in place

to protect against unwarranted and improper pretrial prejudicial publicity that

threatens due process.

      A hearing is also essential because the government has conceded that

redaction of some materials is necessary, and has asserted that it will redact some

grand jury information. Undersigned counsel has reviewed the proposed redactions,

and deems them insufficient to protect information that was obtained only via grand



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jury subpoenas and that generally falls under Fed. R. Crim. P. 6, as well as the

common-law rules governing grand jury secrecy. This dispute over the appropriate

scope of redactions creates an issue of fact to be resolved by the district court after

a hearing. Significantly, Rule 6 contemplates disclosure only pursuant to a court

order, and repeatedly emphasizes the role of the court in overseeing matters related

to grand jury records. See, e.g. Rule 6(c) (“the record may not be public unless the

court so orders”); Rule 6(e)(1) (“Unless the court orders otherwise, an attorney for

the government will retain control of the recording, the reporter’s notes, and any

transcript prepared from those notes”); Rule 6(e)(3)(E) (contemplating court

authorization of disclosure).

      Rule 6 makes clear that disclosure should only be made in relation to federal

criminal law enforcement, and not for other aims.        The government’s proposed

disclosure here is unrelated to the government’s duty to enforce federal criminal

laws, and it represents a misuse of the grand jury process—amplified by the fact that

the disqualified special counsel was not authorized to participate in that process.

Moreover, the legislative history to Rule 6(e) especially “contemplated” an ex parte

“judicial hearing in connection with an application for a court order by the

government,” to “preserve, to the maximum extent possible, grand jury secrecy.”

Advisory Committee Notes, Rule 6 (citing S. Rep. No. 95-354, 1977 U.S. Code

Cong. & Admin. News p. 532). This situation does not fall into any of the disclosure



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scenarios contemplated by Rule 6. Given the emphasis on the importance of grand

jury secrecy, and the principle that trial courts must take care to ensure that secrecy,

the unprecedented nature of the situation presented here highlights the need for a

hearing; it does not remove the need. It is not for the DOJ to decide what grand jury

information must be protected from disclosure to members of Congress. That

discretionary responsibility lies solely with the Court under well-established

principles of grand jury secrecy, especially during a pending criminal case. If any

grand jury material is to be released to anyone not tasked with enforcing criminal

laws, then there must be an adversarial hearing at which the district court determines

if release is appropriate and what is appropriately released.

      The government suggests that the question whether the special counsel was

unconstitutionally appointed is a question irrelevant to determination of whether the

Final Report may be lawfully released. See Doc. 90 at 13. This is wrong. Without

the unconstitutional appointment, the special counsel never would have had access

to the materials he now seeks to release. The special counsel never would have had

access to the grand jury investigation but for the unconstitutional nature of his

appointment. Most importantly, the government pretends that it can argue the appeal

on the merits in response to this motion, but that is not an issue presented by this

emergency motion. The issue is that the district court has entered an order—from

which no stay has been sought—concluding that the Special Counsel has and had no



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authority to act in this prosecution. That settles the matter for purposes of this

motion, and the government cannot now rely on its exclusion from the case as a basis

to be excluded from judicial review.

      The government suggests that Attorney General Garland could have just hired

the special counsel as a staff member. But that is not what he did. The Final Report

stems from an unlawful appointment, was prepared unlawfully, and is thus a legal

nullity under the binding order issued by the district court in this case. It is not

subject to 28 CFR 600.9, and there is thus no obligation to release the report. Aside

from the legal problems related to disqualification, the plain text of 28 CRF § 600.9

does not provide for the release of the report while the criminal case is still pending.

That regulation provides that “[t]he Attorney General will notify the Chairman and

Ranking Minority Member of the Judiciary Committees of each House of Congress,

with an explanation for each action—(1) Upon appointing a Special Counsel; (2)

Upon removing any Special Counsel; and (3) Upon conclusion of the Special

Counsels investigation.” § 600.9(a). The investigation has not concluded because

the criminal case is still pending; the DOJ is attempting to find a loophole by

suggesting that because the special counsel was disqualified, he may disclose all to

Congress (who is outside the reach of the district court’s ability to impose gag orders

or other confidentiality measures), while the criminal investigation remains ongoing.

The DOJ should not be permitted to exploit such a loophole, and it certainly should



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not be permitted to do so without a hearing and oversight from the district court.

Indeed, a separate subsection of § 600.9 explicitly contemplates there will at time be

a need for secrecy even where—unlike here—the criminal investigation has

concluded, by providing that “[t]he notification requirement in paragraph (a)(1) of

this section may be tolled by the Attorney General upon a finding that legitimate

investigative or privacy concerns require confidentiality.” § 600.9(b). This case

presents the unprecedented scenario of attempted release to Congress while the

investigation is still ongoing. Such a scenario is not contemplated in the regulations,

and thus demands court oversight, especially given the pending nature of the

criminal case.

      Where the special counsel has been improperly appointed, as in this case, the

Attorney General lacks all authority, premised either on the applicable regulations

or independently of such regulations, to transmit the report to specified members of

Congress or to the public. Neither 28 U.S.C. § 509 nor United States v. Nixon, 418

U.S. 683 (1974), cited by the government, empowers the Attorney General to release

the report prepared by a special counsel who was unconstitutionally appointed, as in

this case. Indeed, the unconstitutionally appointed counsel did not even have the

authority to author the Final Report, and doing so was directly contradictory to the

district court’s order. The Special Counsel read the district court’s order as narrowly

as possible and proceeded to act as if he were validly appointed counsel in this matter



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in submitting information to the Attorney General. That level of disregard, and lack

of adherence to the district court’s orders, is pertinent. And it emphasizes the need

for the district court’s involvement at a hearing. The government’s response leaves

open questions regarding the contours of the government’s proposed middle

ground—and substantial areas of disagreement between the parties about the scope

of redactions and the people with whom the report may be shared. The judicial

branch, and not the executive branch, must resolve these questions, which bear

directly on a pending criminal matter.

      The government suggests that remand would cause further delay, but the

government does not identify any urgency so great that the district court cannot hold

a hearing. A hearing will only take a day at most, and it is essential to protect the

due process interests at stake. Any delay caused by such a hearing would be de

minimis.   Nor would a remand cause further emergency litigation, where the

emergency—that is, a threat to the defendants’ fair trial rights—has already been

quelled by the district court’s temporary restraining order. The only counsel in this

case now claiming urgency is the Attorney General, but the government’s brief does

not explain this urgency. The Attorney General is an office and not an individual: It

will continue in perpetuity. The urgency of political activity is a fake urgency.

      The government acknowledges that there are separate considerations with

respect to Volumes I and II of the report by dividing it into subsections and by



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proposing different conditions of release for the respective subsections. As the

government acknowledges, Defendants’ counsel have not been granted access to

review Volume I of the Report. Without such review, Defendants cannot determine

the nature of the materials contained therein and, thus, whether they bear any

relevance to their respective constitutionally protected defenses in the criminal

prosecution. To the extent that there is overlap between the two volumes, due

process interests compel that defense counsel be permitted to review each volume

and to lodge objections accordingly—objections that are best resolved by the district

court.

                                   CONCLUSION

         For those reasons, Defendants respectfully request that the Court remand to

the district court for a hearing, and in the meantime enter an order precluding the

United States and its officers and agents, including but not limited to Smith and

members of the Special Counsel’s team, Garland, and the DOJ from issuing the Final

Report.




Dated: January 8, 2025




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Respectfully submitted:

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                       CERTIFICATE OF COMPLIANCE

        I hereby certify that this motion contains 2,637 words and complies with the

typeface and type-style requirement of Fed. R. App. P. 32(a)(5) and (6) because it

was prepared in a WordPerfect proportionally spaced Times New Roman 14-point

font.

                                       /s/ Richard C. Klugh
                                       Richard C. Klugh, Esq.




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